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     1                              SIGNATURE ATTESTATION
     2           Under Section 2.f.4 of the Court’s CM/ECF Administrative Policies, I
     3   hereby certify that authorization for filing this document has been obtained from
     4   each of the other signatories shown above.
     5
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     7
     8   Date:   January 25, 2019          By: s/ Barbara Sicalides
     9
                                           Counsel for Defendant Del Monte
    10                                     Corporation
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     1                                   CERTIFICATE OF SERVICE
     2           I certify that on January 25, 2019, I filed the foregoing document with the Clerk of Court
     3   for the United States District Court, Southern District of California by using the Court’s
     4   CM/ECF system, which will serve electronic notification of this filing to all counsel of record.
     5
     6   Date:   January 25, 2019                 By: s/ Barbara Sicalides
     7
                                                  Counsel for Defendant Del Monte
     8                                            Corporation
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         STIPULATION RE: DISMISSAL                                      No. 15-MD-2670 JLS (MDD)
